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 7

 8

 9
                      UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11

12     PIPE RESTORATION                         Case No. SACV 13–00499 CJC
                                                (RNBx)
       TECHNOLOGIES, LLC, a Nevada
13
       Limited Liability Company, ACE           COUNTERCLAIMANTS’
14     DURAFLO SYSTEMS, LLC, a                  OPPOSITION TO
                                                COUNTERDEFENDANTS’ MOTION
15
       Nevada Limited Liability Company;        TO DISMISS COUNTERCLAIM
       and PIPE RESTORATION, INC., a            COUNTS IV AND V PURSUANT TO
                                                F.R.C.P. RULES 12(b)(6) AND 9(b)
16     California Corporation,
                                                ASSIGNED TO: Honorable Cormac J.
17                          Plaintiffs,         Carney
18
                                                DATE: June 2, 2014
                                                TIME: 1:30 p.m.
19            v.                                COURTROOM: 9B
20     PIPELINE RESTORATION
       PLUMBING, INC., a California
21
       Corporation f/k/a/ COAST
22     BUILDING & PLUMBING, INC.
23
       d/b/a PIPELINE RESTORATION,
       PIPELINE RESTORATION
24     SERVICES, and PIPELINE
25     RESTORATION SERVICES, INC.;
       ROY TERRY, an individual; and
26
       DOES1 through 10, inclusive,
27
                              Defendants.
28

                                            1
                       COUNTERCLAIMANTS’ OPPOSITION TO
                     COUNTERDEFENDANTS’ MOTION TO DISMISS
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                                                                 ii
                                 COUNTERCLAIMANTS’ OPPOSITION TO
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 1                                   INTRODUCTION
 2
           Defendants and Counterclaimants Pipeline Restoration Plumbing, Inc. f/k/a/
 3
     Coast Building & Plumbing, Inc. d/b/a Pipeline Restoration Services and Pipeline
 4
     Restoration Services, Inc. and Roy Terry (collectively “Counterclaimants”), hereby
 5
     oppose the motion to dismiss (“Motion”) filed by Plaintiffs and Counterdefendants
 6
     Pipe Restoration Technologies, LLC, a Ace Duraflo Systems, LLC, and Pipe
 7
     Restoration, Inc. (collectively “Counterdefendants”).
 8
           Counterdefendants’ Motion largely rests on an implausible and inaccurate
 9
     interpretation of Counterclaimants’ First Amended Answer and Counterclaims
10
     (“FAAC”). Counterdefendants argue that the FAAC does not allege a false
11
     statement because Counterdefendants do possess a NSF/ANSI 61 certification.
12
     Therefore, Counterdefendants argue, advertising and promoting their products in
13
     connection with that certification is not false or misleading. That argument
14
     overlooks the central allegation in counterclaims IV and V, which is that
15
     Counterdefendants’ products in the marketplace are not in fact compliant with their
16
     certification. As a result, Counterdefendants are making false statements when
17
     they advertise and promote their products in connection with their certification.
18
     Furthermore, they are misleading consumers into believing that their products are
19
     NSF/ANSI compliant when they are not. Those false statements have resulted in
20
     competitive harm to Counterclaimants, and products that do not comply with the
21
     NSF/ANSI standard can be dangerous and can result in significant health and
22
     safety risks to the public.
23
            As described below Counterclaimants have alleged facts sufficient to
24
     support Counts IV and V of the FAAC, and should be allowed to proceed to
25
     discovery on their claims without further delay.
26   ///
27   ///
28

                                               1
                          COUNTERCLAIMANTS’ OPPOSITION TO
                        COUNTERDEFENDANTS’ MOTION TO DISMISS
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 1                                  LEGAL STANDARD
 2         Motions alleging that a party has failed to state a claim, such as the instant
 3   motion, “are disfavored and rarely granted.” Gay–Straight Alliance Network v.
 4   Visalia Unified School Dist., 262 F. Supp. 2d 1088, 1098 (E.D. Cal. 2001);
 5   McGary v. City of Portland, 386 F.3d 1259, 1270 (9th Cir. 2004); Broam v. Bogan,
 6   320 F.3d 1023, 1028 (9th Cir. 2003) (A Rule 12(b)(6) motion is “viewed with
 7   disfavor.”).
 8         When a federal court reviews the sufficiency of a complaint, before the
 9   reception of any evidence either by affidavit or admissions, its task is necessarily a
10   limited one. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 583 (2007) (quotations
11   omitted). The issue is not whether a plaintiff will ultimately prevail but whether
12   the claimant is entitled to offer evidence to support the claims. Id. “Indeed it may
13   appear on the face of the pleadings that a recovery is very remote and unlikely but
14   that is not the test.” Id.
15         The moving party bears the burden of demonstrating that the non-moving
16   party is not entitled to offer evidence to support the claims. See Gallardo v.
17   DiCarlo, 203 F.Supp.2d 1160, 1165 (C.D. Cal. 2002). Therefore, all factual
18   allegations in a complaint should be construed in the light most favorable to the
19   non-moving party for purposes of ruling on a motion to dismiss. O’Loghlin v.
20   County of Orange, 229 F.3d 871, 874 (9th Cir. 2000)(emphasis added).
21

22                                       ARGUMENT
23
     I.  Count IV of the FAAC Sets Forth a Valid Claim for Federal Unfair
24   Competition
25
            A.   The FAAC Alleges That Counterdefendants Made False And
26          Misleading Statements
27          Claim IV seeks relief for Counterdefendants’ violations of violations of 15
28   U.S.C. § 1125 of the Lanham Act. The central focus of that statute is to combat
                                                2
                           COUNTERCLAIMANTS’ OPPOSITION TO
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 1   false representations in promoting a product in the marketplace. Mutual Pharm.
 2   Co. v. Ivax Pharm., Inc. 459 F. Supp. 2d 925, 932 (C.D. Cal. 2006) (quoting
 3   Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139–40 (9th Cir.1997).
 4         The FAAC alleges that Counterdefendants have made and continue to make
 5   false statements about the nature of their products. FAAC ¶¶ 9-15.
 6   Counterdefendants wrongly argue that Claim IV is based entirely “on
 7   Counterdefendants’ true statement that their epoxy is NSF certified.” Motion at 2.
 8   To the contrary, the basis of Claim IV is that Counterdefendants’ products in the
 9   marketplace are not compliant with their certification. FAAC ¶¶ 10-13. As a
10   result, representations that their products are compliant with the NSF/ANSI 61
11   standard are false and misleading. FAAC ¶¶ 9, 14.
12         There is no dispute as to the fact that Counterdefendants’ products are
13   certified as under the NSF/ANSI 61 standard. FAAC ¶ 11. Counterdefendants do
14   not deny that they use the fact of that certification to promote their products and
15   services. See Motion at 3, ll. 24-27. Counterclaimants’ discovered, however, that
16   the thickness of epoxy that Counterdefendants use in their products violates their
17   certification. The FAAC explains that Counterdefendants “are using an epoxy that
18   exceeds the allowable material application thickness required by its NSF 61
19   listing.” FAAC ¶ 11. Furthermore, Counterdefendants’ “epoxy thickness is well
20   beyond the 10 mils thickness and thus Counterclaim Counterclaimants usage and
21   application of its epoxy is in violation of their NSF/ANSI 61 standard listing.”
22   FAAC ¶ 12. The FAAC explains that this violation of the certification is not an
23   isolated incident, but occurred “on publicly distributed samples, factory lined
24   piping and product samples removed from completed building systems.” FAAC ¶
25   13. None of the samples that Counterclaimants obtained and tested were compliant
26   with the standard. FAAC ¶ 13. As a result of those ongoing violations,
27   Counterdefendants are misleading and confusing consumers, and gaining an
28   improper competitive advantage over Counterclaimants. FAAC ¶¶ 11, 14.
                                               3
                          COUNTERCLAIMANTS’ OPPOSITION TO
                        COUNTERDEFENDANTS’ MOTION TO DISMISS
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 1         Under § 43(a) of the Lanham Act, the falsity of a statement can be
 2   established either by showing that the statement “was literally false, either on its
 3   face or by necessary implication,” or by showing that although the statement was
 4   “literally true” it was nonetheless “likely to mislead or confuse consumers.”
 5   Mutual Pharm. Co., 459 F.Supp.2d at 932.
 6         In VP Racing Fuels, Inc. v. Gen. Petroleum Corp. 673 F.Supp.2d 1073, 1084
 7   (E.D. Cal. 2009), the court stated that a party who promotes their products as
 8   complying with an industry standard, when the products are not in fact compliant
 9   with that standard, makes statements that are literally false. In that case, the
10   defendant advertised that its fuel was certified as having a particular octane level.
11   The plaintiff tested samples of the fuel and found it to be non-compliant with the
12   standard. Id. at 1077. Although in that case the Lanham Act claim was preempted
13   by Title II of the Petroleum Marketing Practices Act, the court noted that the
14   defendant would have been liable for false advertising under the Lanham Act.
15   Specifically, the court stated that the defendant “would necessarily be in violation
16   of Section 43(a) for any advertisements it makes in accordance with such
17   certification because the statements would be literally false.” The situation is no
18   different in the present case. As set forth in the FAAC, Counterdefendants have
19   made false statements by promoting non-ANSI/NSF compliant products as being
20   ANSI/NSF compliant.
21         Moreover, although Counterdefendants’ advertisements and representations
22   are literally false, statements do not have to be literally false in order to constitute a
23   violation of the Lanham Act. Instead, they need only be misleading. Mutual
24   Pharm. Co., 459 F.Supp.2d at 932-33 (finding that Lanham Act § 43(a) “embraces
25   innuendo, indirect intimations, and ambiguous suggestions evidenced by the
26   consuming public’s misapprehension of the hard facts underlying an
27   advertisement.”) (internal quotation omitted).
28         The FAAC alleges that Counterdefendants have wrongly made false
                                                 4
                          COUNTERCLAIMANTS’ OPPOSITION TO
                        COUNTERDEFENDANTS’ MOTION TO DISMISS
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 1   representations in promoting a product in the marketplace, that consumers are
 2   likely to be deceived by those misrepresentations, and that Counterdefendants are
 3   using those misrepresentations to gain an unfair advantage over Counterclaimants
 4   in the marketplace. Under either a literal falsehood or a misleading statement test,
 5   the FAAC sets forth facts that properly support a claim for false advertising.
 6   Accordingly, there is no merit to Counterclaimants’ argument that
 7   Counterdefendants failed to identify a false statement.
 8
           B.  The FAAC Properly Pleads All Elements of Federal Unfair
 9         Competition
10                1.   The FAAC sets forth facts to support each element of
11                Counterclaim IV
12         In order to prevail on a claim under § 43(a) of the Lanham Act, a plaintiff
13   must ultimately prove: (1) that the defendant made a false statement of fact in a
14   commercial advertisement about its own or another’s product; (2) the statement
15   actually deceived or has the tendency to deceive a substantial segment of its
16   audience; (3) the deception is material, in that it is likely to influence the
17   purchasing decision; (4) the defendant caused its false statement to enter interstate
18   commerce; and (5) the plaintiff has been or is likely to be injured as a result of the
19   false statement, either by direct diversion of sales from itself to defendant or by a
20   lessening of the goodwill associated with its products. Cook, Perkiss and Liehe,
21   Inc. v. Northern Cal. Collection Serv., Inc., 911 F.2d 242, 244 (9th Cir. 1990).
22   The FAAC sufficiently sets forth facts that support each of the five prongs, such
23   that discovery on this claim should be allowed to proceed. First, as discussed
24   above, the FAAC identifies false statements Counterdefendants made about their
25   products in commercial advertising. FAAC ¶ ¶ 11-13. Second, the FAAC alleges
26   that those statements deceive the public into believing that products are compliant
27   with the NSF/ANSI 61 standard when they are not. FAAC ¶ 11. Third, and
28   importantly, violations of the ANSI/NSI standard create health and safety risks for
                                                 5
                          COUNTERCLAIMANTS’ OPPOSITION TO
                        COUNTERDEFENDANTS’ MOTION TO DISMISS
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 1   the public. FAAC ¶ 15. Due to the serious consequences of non-compliance with
 2   the standard, Counterdefendants’ NSI/ANSI certification is likely a material aspect
 3   in any consumer’s purchasing decision.
 4        Fourth, as to the interstate commerce requirement, it is the statement or
 5   advertisement itself, rather than the falsely advertised goods or services, which
 6   must be used in interstate commerce. Southland Sod Farms, 108 F.3d at 1139, n.
 7   3. When a party advertises their services on a website, it is “virtually automatic”
 8   that the interstate commerce requirement is met. TrafficSchool.com, Inc. v.
 9   Edriver Inc., 653 F.3d 820, 829 n. 3 (9th Cir. 2011). In the present case,
10   Counterdefendants’ website plainly advertises, “All materials used are approved
11   for potable water contact, completely non-toxic and certified to NSF/ANSI
12   Standard 61.” http://www.pipelinerestoration.com/, last accessed May 8, 20141.
13        Fifth and finally, Counterclaimants have alleged that Counterdefendants’
14   false and misleading statements are being used to obtain a competitive advantage,
15   and that Counterclaimants are therefore harmed. FAAC ¶ 14. Claim IV is
16   therefore properly pled.
17
                  2.   The allegations in the FAAC satisfy the heightened pleading
18                standard
19        In order to plead claims that sound in fraud, a moving party must “set forth
20   what is false or misleading about a statement, and why it is false.” Decker v.
21   GlenFed, Inc., 42 F.3d 1541, 1548 (9th Cir. 1994). A claim for fraud must be
22   “specific enough to give defendants notice of the particular misconduct which is
23   alleged to constitute the fraud charged so that they can defend against the charge
24   and not just deny that they have done anything wrong.” Semegen v. Weidner, 780
25

26
     1
27
       To the extent the Court finds it necessary for Counterclaimants to identify this
     website and statements from the website its pleading, Counterclaimants request
28   leave to amend the FAAC for that purpose.
                                               6
                          COUNTERCLAIMANTS’ OPPOSITION TO
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 1   F.2d 727, 731 (9th Cir.1985).
 2         Here, Counterclaimants have done more than simply put Counterdefendants
 3   in a position of having to deny general wrongdoing. The FAAC identifies the
 4   source of the false and misleading statements (Counterdefendants), the nature of
 5   the false and misleading statements (false statements regarding products that are
 6   not NSF/ANSI compliant), and the location where the statements were made (in
 7   marketing materials, in-person solicitations among other materials).
 8   Counterclaimants further provided evidence of Counterdefendants’ certification,
 9   and photographic evidence of Counterclaimants’ non-compliance with that
10   certification. In light of those allegations, there can be no doubt that
11   Counterdefendants are aware of the charge against them, and are not simply in a
12   position of having to deny that they did anything wrong. This is particularly true
13   given that Counterdefendants do not deny promoting their products as being
14   NSF/ANSI compliant, and the landing page of their publicly available website
15   provides one clear example of Counterdefendants’ false statements.
16
     II.   COUNT V OF THE FAAC SETS FORTH A VALID CLAIM UNDER
17
     CALIFORNIA BUSINESS AND PROFESSIONS CODE §§ 17200 et. seq.
18
     AND § 17500
19
           As an initial matter, California courts have recognized that whether a
20
     business practice is deceptive will usually be a question of fact not appropriate for
21
     decision on demurrer. Williams v. Gerber Products Co., 552 F.3d 934, 938-939
22
     (9th Cir. 2008) (citing Linear Technology Corp. v. Applied Materials, Inc., 152
23
     Cal. App. 4th 115, 134–35 (Cal. App. 2007) (“Whether a practice is deceptive,
24
     fraudulent, or unfair is generally a question of fact which requires ‘consideration
25
     and weighing of evidence from both sides’ and which usually cannot be made on
26
     demurrer.” (quoting McKell v. Washington Mutual, Inc., 142 Cal. App. 4th 1457,
27
     1472 (Cal. App. 2006))); Comm. on Children’s Television v. General Foods Corp.,
28

                                                7
                          COUNTERCLAIMANTS’ OPPOSITION TO
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 1   35 Cal.3d 197 (Cal. 1983) (finding demurrer inappropriate in case where parents
 2   alleged deceptive advertising of sugar cereals).
 3         In Williams, the court recognized that in order for a claim relating to a
 4   deceptive business practice to be dismissed at the pleading stage, the facts must
 5   amount to a “rare situation.” Williams, 552 F.3d at 939. The present case does not
 6   constitute a rare situation that would warrant dismissal. The facts set forth in the
 7   FAAC support claims for false advertising under California law, as well as for
 8   unlawful, fraudulent, and unfair business practices under California’s Unfair
 9   Competition Law (“UCL”).
10
           A. The FAAC Properly States a Claim For False Advertising Under
11
               California Business and Professions Code § 17500
12
           “[T]o state a claim under either the UCL or the false advertising law
13
     [(“FAL”)], based on false advertising or promotional practices, it is necessary only
14
     to show that members of the public are likely to be deceived.” In re Tobacco II
15
     Cases, 46 Cal. 4th 298, 312 (2009) (quoting Kasky v. Nike, Inc., 27 Cal.4th 939,
16
     951 (Cal. 2002)). Accordingly, a plaintiff must allege: (1) statements in the
17
     advertising are untrue or misleading, and (2) defendant knew, or by the exercise of
18
     reasonable care should have known, that the statements were untrue or
19
     misleading.2 People v. Lynam, 253 Cal. App. 2d 959, 965 (Cal. App. 1967).
20
           Here, the FAAC alleges that Counterdefendants made false statements
21
     regarding their compliance with the NSF/ANSI standard. FAAC ¶¶ 11-13.
22
     Counterdefendants are aware of their certification, and of their own business
23
     practices that violate that certification. They therefore should have known of their
24
     own false statements. No further allegations are required at the pleading stage.
25
     ///
26

27
     2 Counterclaimants incorporate by reference the discussion above regarding
28   satisfying the heightened pleading standard into this and the following sections.
                                                8
                          COUNTERCLAIMANTS’ OPPOSITION TO
                        COUNTERDEFENDANTS’ MOTION TO DISMISS
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 1         B. The FAAC Properly States a Claim For False Advertising Under
 2             California Business and Professions Code §§ 17200 et. seq.
 3         The allegations discussed above constitute violations of the unlawful, unfair
 4   and fraudulent prongs of California’s UCL. First, an “unlawful” business practices
 5   means “anything that can properly be called a business practice and that at the
 6   same time is forbidden by law.” Bank of the West v. Sup. Ct., 2 Cal. 4th 1254,
 7   1266–67 (Cal. 1992); see also Paulus v. Bob Lynch Ford, Inc., 139 Cal. App. 4th
 8   659, 681 (Cal. App. 2006) (“[V]irtually any law or regulation—federal or state,
 9   statutory or common law—can serve as a predicate for a [section] 17200
10   ‘unlawful’ violation.”) (internal citations and quotations omitted). California courts
11   have recognized that “ ‘[a]ny violation of the false advertising law ... necessarily
12   violates’ the UCL.” Kasky, 27 Cal. 4th at 950 (internal quotations removed).
13   Accordingly, the above-discussed violations of the Lanham Act, as well as the
14   California Business and Professions Code section 17500, serve as a predicate for
15   liability under the “unlawful” prong of the UCL.
16         Second, the “fraud” prong of the UCL encompasses business practices that
17   tend to mislead or deceive members of the public. Morgan v.–4T & T Wireless
18   Servs., Inc., 177 Cal. App. 4th 1235, 1254–56 (Cal. App. 2009); Olsen v. Breeze,
19   Inc., 48 Cal. App. 4th 608 (Cal. App. 1996). Here, Counterclaimants have alleged
20   that consumers are likely to be deceived into believing that Counterdefendants’
21   products comply with the ANSI/NSI 61 standard, when in fact, they do not, and
22   Counterclaimants as well as the general public have been harmed as a result.
23   FAAC ¶¶ 9-15.
24         Third, a business act or practice is “unfair” when the conduct “threatens an
25   incipient violation of an antitrust law, or violates the policy or spirit of one of those
26   laws because its effects are comparable to a violation of the law, or that otherwise
27   significantly threatens or harms competition.” Cel–Tech Communications, Inc. v.
28   L.A. Cellular Tel. Co., 20 Cal. 4th 163, 187 (Cal. App. 1999).
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 1        In VP Racing, the court found that facts analogous to those in the present
 2   case supported a claim for unfair business practice under the UCL. In that case,
 3   the plaintiff alleged that the defendants’ practice of labeling its product as 100-
 4   octane fuel when it was not 100-octane unfairly diverted sales to the defendant.
 5   The court concluded, “Plaintiff has sufficiently alleged harm such that Defendant
 6   should be made to answer.” VP Racing, 673 F.Supp.2d at 1087. In the present case
 7   as well, Counterdefendants have unfairly competed with Counterclaimants, and
 8   should be made to answer.
 9
           C. The FAAC Properly Alleges Harm and Otherwise Satisfies the
10
               Pleading Requirements for the State Law Claims
11
          Counterclaimants have sufficiently alleged harm to support their FAL and
12
     UCL claims, regardless of which prong of the UCL is at issue. Counterdefendants
13
     are incorrect in alleging that Counterdefendants have only alleged incidental and
14
     general damages, lost profits, and out-of-pocket expenses. Motion at 8. To the
15
     contrary, the FAAC explains that Counterdefendants have suffered competitive
16
     harm as a result of Counterclaimants’ wrongful business practices. FAAC ¶¶ 9, 14.
17
     Competitive harm in the form of lost market share supports claims under the UCL
18
     and FAL. Law Offices of Mathew Higbee v. Expungement Assistance Services,
19
     214 Cal. App. 4th 544 (Cal. App. 2013). “[T]he original purpose of the unfair
20
     competition laws was to protect against wrongful conduct in commercial
21
     enterprises which resulted in business loss to another, ordinarily by the use of
22
     unfair means in drawing away customers from a competitor.” Id. at 561 (internal
23
     quotation omitted.) Although the UCL was ultimately expanded to provide relief
24
     to consumers, “this does not mean that the UCL no longer protects business
25
     competitors.” Id.
26
          Counterdefendants are likewise incorrect in alleging that Counterclaimants
27
     need to allege actual reliance in addition to alleging harm. See Motion at 8. In
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 1   Anunziato v. eMachines, Inc., 402 F. Supp. 2d 1133, 1137-1138 (C.D. Cal. 2005),
 2   the court clarified that Proposition 64 did not impose a reliance requirement on
 3   UCL or FAL claims. The court found that imposing such a requirement could
 4   undermine the purpose of the statute, and that “none of the ballot materials which
 5   accompanied Proposition 64–the California Attorney General's summary, the
 6   commentary prepared by the California Legislative Analyst’s Office, or the
 7   arguments for and against the Proposition-mention reliance.” Id. at 1138. In re
 8   WellPoint, Inc. Out-Of Network “UCR” Rates Litig., 903 F.Supp.2d 880, 925
 9   (C.D. Cal. 2012), the case on which Counterdefendants rely, the plaintiffs alleged
10   that the defendant defrauded them by inducing them to make certain purchases,
11   and to make them at a higher price than warranted. Id. at 925. Accordingly, in
12   order to show harm, the plaintiffs were required to show that it was defendants’
13   fraudulent statement that caused them to act, and therefore caused them harm.
14        Here, the allegation is that Counterdefendants’ behavior has harmed
15   Counterclaimants’ position in the marketplace, by inducing consumers to believe
16   that their products are NSI compliant. Under those facts, requiring an independent
17   showing that Counterclaimants themselves took action based on
18   Counterdefendants’ behavior is not necessary in order to show harm, and would
19   undermine the purpose of the statute. See Anunziato, 402 F. Supp. 2d at 1138; see
20   also Law Offices of Mathew Higbee, 214 Cal. App. 4th at 563-564 (finding that a
21   UCL claim can be brought by a party who has not themselves done business with
22   the defendant, but who has suffered competitive harm as a result of the defendant’s
23   behavior).
24        Finally, Counterdefendants argue that Counterclaimants are requesting relief
25   that is not recognized under the FAL or the UCL. Motion at 8. As an initial
26   matter, that statement is incorrect. Counterclaimants have alleged harm, and are
27   seeking equitable relief, costs and fees, and any and all additional relief that the
28   Court deems proper. FAAC ¶¶ 25, 28; Prayer for Relief. Importantly, however, a
                                                11
                          COUNTERCLAIMANTS’ OPPOSITION TO
                        COUNTERDEFENDANTS’ MOTION TO DISMISS
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 1   Rule 12(b)(6) motion “will not be granted merely because [a] plaintiff requests a
 2   remedy to which he or she is not entitled.” Summit Technology, Inc. v. High-Line
 3   Medical Instruments, Co., 933 F.Supp. 918, 927-928 (C.D. Cal. 1996) (citing
 4   Schwarzer, et al., Civil Procedure Before Trial § 9:230; Doe v. United States Dept.
 5   of Justice, 753 F.2d 1092, 1104 (D.C. Cir. 1985) (“It need not appear that plaintiff
 6   can obtain the specific relief demanded as long as the court can ascertain from the
 7   face of the complaint that some relief can be granted.”)).
 8        In sum, Counterdefendants have presented the Court with no reason to take
 9   the disfavored step of dismissing Counterclaims IV and V at this early stage in the
10   proceedings. To the extent the Court finds it necessary for Counterclaimants to
11   include more details in their pleadings, Counterclaimants request leave to amend
12   their Counterclaims in order to provide that detail.
13                                    Conclusion
14         Counterdefendants’ Motion is based on an illogical interpretation of the facts
15   and law. Counterclaimants have properly pled Counterclaims IV and V, and have
16   set forth facts sufficient to support each Counterclaim. Counterclaimants therefore
17   respectfully request that Counterdefendants’ Motion be denied, and
18   Counterclaimants be allowed to take discovery on their claims.
19

20   Dated: May 12, 2014              RHEMA LAW GROUP, P.C
21




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25                                    Rosalind T. Ong
26
                                      John D. Tran
                                      Attorneys for Counterclaimants Pipeline
27                                    Restoration Plumbing, Inc., Plumbing, Inc.
28                                    and Roy Terry
                                               12
                          COUNTERCLAIMANTS’ OPPOSITION TO
                        COUNTERDEFENDANTS’ MOTION TO DISMISS
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                              CERTIFICATE OF SERVICE
 5

 6
     I hereby certify that on May 12, 2014, I caused the foregoing document entitled to

 7
     COUNTERCLAIMANTS’ OPPOSITION TO COUNTERDEFENDANTS’

 8   MOTION TO DISMISS COUNTERCLAIM COUNTS IV AND V PURSUANT
 9   TO F.R.C.P. RULES 12(b)(6) AND 9(b) to be filed with the clerk of court for the
10   U.S. District Court, Central District of California using the Court’s Electronic Case
11   Filing (ECF) System.
12

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     Executed on May 12, 2014, at Irvine, California.
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                         COUNTERCLAIMANTS’ OPPOSITION TO
                       COUNTERDEFENDANTS’ MOTION TO DISMISS
